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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM
                                                       HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.




 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM
                                                       HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.



                                   JOINT STATUS REPORT

       In accordance with the Court’s Minute Order dated February 11, 2022, the parties in the

above-captioned cases submit the following Joint Status Report regarding a proposal for

exchanging the identities of third-party witnesses and entities that may be called at trial.

       The parties have narrowed the areas of dispute, but are continuing to meet and confer in

good faith to reach a mutually agreeable resolution. Accordingly, the Parties propose that they

file a proposal or competing proposals regarding an exchange of the identities of witnesses and

entities that may be called at trial by tomorrow, February 17, 2022.
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Dated: February 16, 2022            Respectfully submitted,

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